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                          11
                          12                     UNITED STATES DISTRICT COURT FOR THE
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                                                    CENTRAL DISTRICT OF CALIFORNIA
                          13
                          14                                                   )        Case No.: 2:15-cv-05346-CJC-E
                          15     T.P., et al.,                                 )
                                                                               )       PLAINTIFFS’ AMENDED
                          16                     Plaintiffs,                   )       OPPOSITION TO
                          17                                                   )       DEFENDANT’S MOTION TO
                                         v.                                    )       EXCLUDE TESTIMONY OF
                          18                                                   )       DR. LILA KIMEL [D489]
                          19     WALT DISNEY PARKS                         AND )
                                 RESORTS U.S. INC.,                            )       Date: May 3, 2021
                          20
                                                                               )       Time: 1:30 p.m.
                          21             Defendant.                            )       Judge: Hon. Cormac J. Carney
                          22                                                   )       Courtroom 9B
                                                                             /
                          23
                                       Plaintiffs T.J.A., L.A., E.W.V. and A.M.P., by and through undersigned
                          24
                                counsel, and pursuant to the Federal Rule of Evidence, responds to Defendant’s
                          25
                                Motion to Exclude the Testimony and Strike the Report and Opinions of Dr. Lila
                          26
                                Kimel in Bellwether V [Doc. 489] (the “Daubert Motion”). In opposition to
                          27
                          28
                                                                              Page 1
                                  Plaintiffs’ Amended Opposition to Defendant’s Mot. To Exclude Testimony of Dr. Kimel
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                           1    Defendant’s Daubert Motion Plaintiffs offer the following arguments and
                           2    authorities.
                           3    I.        INTRODUCTION
                           4
                                          Plaintiff’s retained expert, Lila Kopelioff Kimel, Ph.D. (“Dr. Kimel”) is a
                           5
                                licensed and board-certified Neuropsychologist and Subspecialist in Pediatric
                           6
                                Neuropsychology with extensive experience in the area of assessing adult and
                           7
                                pediatric developmental and acquired brain disorders, including Autism
                           8
                                Spectrum Disorder (“ASD”), fragile X, Down Syndrome, brain injuries, learning
                           9
                                disabilities and psychiatric disorders. See Curriculum Vitae of Lila Kopelioff
                          10
                                Kimel, Ph.D. attached as Exhibit "B” to the Declaration of Lila Kopelioff Kimel,
                          11
                                Ph.D. (“Kimel Declaration”) filed herewith. Pursuant to Federal Rule of Civil
                          12
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                                Procedure 26, Plaintiff supplemented their earlier expert disclosure by serving
                          13
                                the report prepared by Dr. Kimel for Bellwether Phase V. Dr. Kimel’s report
                          14
                                outlines her opinions regarding her critical analysis of Walk Disney Parks and
                          15
                                Resorts U.S. Inc.’s (“Disney” or “ Defendant”) Disability Access Services (DAS)
                          16
                                program instituted in October 2013 at Disney parks including Disneyland and
                          17
                                Walt Disney World. See Expert Report of Lila Kimel, Ph.D. attached as Exhibit
                          18
                                B to the Kimel Declaration (hereinafter the “Kimel Report”). Dr. Kimel outlined
                          19
                                her opinions as to whether the DAS’ allows individuals with severe ASD have
                          20
                                equal access to Disney parks, whether the DAS program accommodations are
                          21
                                reasonable and necessary to provide equal access to Disney Parks and whether
                          22
                                the Plaintiffs suffered emotional distress as a result of the lack of
                          23
                                accommodations provided by the DAS program as compared to the previously
                          24
                                implemented Guest Access Card. See Kimel Report § I (Exhibit B). Particular
                          25
                                opinions include, but are not limited to, the manifestation of ASD on an individual
                          26
                                and how it impacts an individual’s ability to function as well as resulting deficits
                          27
                                in intellectual and adaptive skills, sensory processing, language, communication,
                          28
                                                                                 Page 2
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                           1    social emotional reciprocity, relationships, social motivation, restricted and
                           2    repetitive behavior, interests and activities, abnormal intensity of focus and other
                           3    cognitive functions faced by a person with ASD. Id. Dr. Kimel opines as to ASD’s
                           4    elevation of anxiety in individuals and related symptoms as compared to the
                           5    general population. Her analysis also addresses specific limitation to evidence-
                           6    based treatment strategies such as Applied Behavioral Analysis (“ABA”) and how
                           7    the DAS’s ABA based accommodation fail to assist individuals who fall within
                           8    the ASD subset most affected.
                           9           The Defendant seeks to exclude the Kimel Report, as well as Dr. Kimel’s
                          10    testimony, pursuant to Federal Rule of Evidence 702 and Daubert v. Merrell Dow
                          11    Pharm., 509 U.S. 579 (1993). The Defendant argues that Dr. Kimel is not
                          12
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                                qualified to serve as an expert, her report is unreliable, and her opinions are
                          13    irrelevant.
                          14
                                       It is entirely appropriate for Dr. Kimel to provide general testimony and
                          15
                                opinions regarding ASD, its symptoms, and its impact on the cognitive
                          16
                                functioning of those suffering from the disorder. Such testimony will assist the
                          17
                                trier of fact in understanding a complex neurological disorder and in applying the
                          18
                                information to other evidence and testimony offered at trial. Dr. Kimel’s opinions
                          19
                                are admissible under Rule 702, and the Defendant is free to raise issues of
                          20
                                credibility regarding the scope or general nature of any particular opinion through
                          21
                                cross examination or the admission of rebuttal evidence and testimony.
                          22
                          23    II.    ARGUMENT & AUTHORITIES

                          24           A.     LEGAL STANDARD UNDER DAUBERT
                          25           The trial court is required to act as the “gate-keeper” to determine whether
                          26    expert testimony should be admitted. Daubert v. Merrell Dow Pharmaceuticals,
                          27
                          28
                                                                              Page 3
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                           1    Inc., 509 U.S. 579, 113 S. Ct. 2786, 125 L. Ed. 2d 469 (1993). Whether the
                           2    testimony of an expert witness is admissible at trial if:
                           3          (a) the expert’s scientific, technical, or other specialized knowledge
                           4          will help the trier of fact to understand the evidence or to determine
                           5          a fact in issue;
                           6
                                      (b) the testimony is based on sufficient facts or data,
                           7
                           8          (c) the testimony is the product of reliable principles and methods;

                           9          and
                          10          (3) the witness has reliably applied the principles and methods to the
                          11          facts of the case.
                          12
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                                Fed. R. Civ. P. 702.
                          13
                                      In determining the admissibility of expert testimony, “the trial court must
                          14
                                assure that the expert testimony ‘both rests on a reliable foundation and is relevant
                          15
                                to the task at hand.’” Primiano v. Cook, 598 F.3d 558, 564 (9th Cir.2010)(quoting
                          16
                                Daubert, 509 U.S. at 597, 113 S. Ct. 2786). “Expert opinion testimony is relevant
                          17
                                if the knowledge underlying it has a valid connection to the pertinent inquiry.
                          18
                                And it is reliable if the knowledge underlying it has a reliable basis in the
                          19
                                knowledge and experience of the relevant discipline.” Primiano, at 565 (citation
                          20
                                and internal quotation marks omitted).
                          21
                          22          B.     DR. KIMEL’S QUALIFICATIONS EXCEED THE STANDARD REQUIRED.
                          23          Dr. Kimel is highly qualified as a licensed and a board-certified
                          24    Neuropsychologist and Subspecialist in Pediatric Neuropsychology with a
                          25    specialty focus on anxiety in autism. See Kimel C.V. (Exhibit B), Deposition of
                          26    Lila K Kopelioff Kimel, Ph.D. 80:3-4, 80:25-81:2 (“Kimel Depo.). Within the
                          27    specialty of “anxiety” there are different areas of research that focuses on
                          28
                                                                             Page 4
                                 Plaintiffs’ Amended Opposition to Defendant’s Mot. To Exclude Testimony of Dr. Kimel
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                           1    “delayed gratification” and “understanding time” as individual subspecialties.
                           2    See Kimel Depo. 80:13-16. While Dr. Kimel does not consider herself an
                           3    “expert”1 in the subspecialties, her specialty in anxiety presents individual cases
                           4    where the issues of delayed gratification, waiting and transitioning are relevant.
                           5    See Kimel Depo. 81:2-6. Dr. Kimel’s scientific and specialized knowledge over
                           6    the years is appropriate to help a trier of fact to understanding the issues in this
                           7    case.
                           8             Over twenty-three years, Dr. Kimel relied on empirical research skills to
                           9    support her clinical work, research and publications as well as supporting her
                          10    applied practice. See Kimel Report p. 3, Appendices C-D (Exhibit B). Dr.
                          11    Kimel’s report and testimony indicates that she has applied her research skills to
                          12
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                                this case. Upon beginning her research Dr. Kimel conducted a literary search
                          13    through various databases including PsychINFO which provides a research
                          14    source for psychologists. See Lila Kimel, Ph.D. Deposition Vol I (“Kimel Depo”)
                          15    34:22-36:11. Specifically, Dr. Kimel searched the key terms “autism” and
                          16    “delayed gratification” specifically to bring herself up to date on current research
                          17    and to ensure that current research would allow her to make informed decisions
                          18    relevant to the case. See id. at 36:3-4, 7922:24.
                          19
                          20
                                1
                                   The Eleventh Circuit cites to research from a both a generalist and a specialist in
                          21    its opinion AL v. Walt Disney Parks & Resorts U.S., Inc., 900 F.3d 1270, 1285-86.
                          22    The work Identification and Evaluation of Children with Autism Spectrum
                                Disorders, 120 Pediatrics 1183, 1194 (2007) by Chris Plauche Johnson et al. is
                          23
                                described a report addressing background information, including definition, history,
                          24    epidemiology, diagnostic criteria, early signs, neuropathologic aspects, and etiologic
                          25    possibilities in autism spectrum disorders. In contrast, the Court also relied on a
                                specific study by Susan Faja, et al. entitled Reduced Delay of Gratification and
                          26    Effortful Control Among Young Children with Autism Spectrum Disorders, 19
                          27    Autism 91 (2015). Both researchers assisted the court in determining the facts in
                                issue.
                          28
                                                                                Page 5
                                    Plaintiffs’ Amended Opposition to Defendant’s Mot. To Exclude Testimony of Dr. Kimel
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                           1          It is important to note that Defendant does not question Dr. Kimel’s
                           2    education and background. As noted in her C.V., Dr. Kimel has a quality
                           3    education, research and publication experience and an active practice. Unlike the
                           4    expert in U.S. v. Chang, 207 F.3d 1169 (9 th Cir. 2000), who did not testify as to
                           5    any training or experience in the material issue of detecting counterfeit securities,
                           6    Dr. Kimel’s training in autism, specialty in anxiety related to autism, and clinical
                           7    practice applying research to actual cases involving “delayed gratification” and
                           8    “understanding time” establishes that she has the necessary skills and experience
                           9    to offer opinions in this case. Defendant’s motion must be denied.
                          10          C.       Dr. Kimel’s Opinions Are Reliable.
                          11
                                      Dr. Kimel’s opinions are reliable and are based on quality research that
                          12
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                                cannot be question. Instead, Defendant seeks to preclude Dr. Kimel’s work based
                          13
                                on poor citation conducted without the intent to deceive. The APA Style and
                          14
                                Grammar Guidelines proffered at Dr. Kimel’s deposition states:
                          15
                          16          Plagiarism is the act of presenting the words, ideas, or images of

                          17          another as their own. ... To avoid plagiarism, provide appropriate

                          18          credit [ ] to your sources by adding author-date in-text citations for

                          19          direct quotations and ideas.

                          20    Kimel Depo. 66:6-67:6, Exhibit 2 attached thereto.
                          21           Dr. Kimel admits during her deposition that the partial excerpts cited by
                          22    the defendants could be considered plagiarism as direct copies of sources. See
                          23    Kimel Depo. 49:17-25. Dr. Kimel conducts research by copying direct text into
                          24    her working materials and then massaging the underlying principles into her own
                          25    thoughts through her own words. See Kimel Depo. 50:12-51:6. During her work,
                          26    she missed revisions and citations – as she states, she “should have done a better
                          27    job. See id.
                          28
                                                                             Page 6
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                           1          Nonetheless, precedent establishes that the Court must balance the
                           2    substance of the of the expert’s work and opinions against actions giving rise to
                           3    impeachment. “Shaky but admissible evidence is to be attacked by cross
                           4    examination, contrary evidence, and attention to the burden of proof, not
                           5    exclusion.” Id. at 564 (citation omitted). The judge is “supposed to screen the jury
                           6    from unreliable nonsense opinions, but not exclude opinions merely because they
                           7    are impeachable.” Alaska Rent–A–Car, 738 F.3d 960, 969 (9th Cir. 2013). Simply
                           8    put, “[t]he district court is not tasked with deciding whether the expert is right or
                           9    wrong, just whether his (or her) testimony has substance such that it would be
                          10    helpful to a jury.” Id. at 969–70. Challenges that go to the weight of the evidence
                          11    are within the province of a fact finder, not a trial court judge. A district court
                          12    should not make credibility determinations that are reserved for the jury. See City
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                          13    of Pomona v. SQM N. Am. Corp., 750 F.3d 1036, 1044 (9th Cir. 2014). Finally,
                          14    the exclusion of expert testimony is a severe sanction that is not appropriate
                          15    where a party's actions do not result in prejudice to the opposing party. See SEC
                          16    v. Huff, No. 08–60315, 2010 WL 228000, *3 (S.D. Fla. 2010); In re Terazosin
                          17    Hydrochloride Antitrust Litig., No. 99–1317, 2005 WL 5955699, *9 (S.D. Fla.
                          18    2005).
                          19          Neither the Plaintiffs nor Dr. Kimel suggest that the “plagiarism” should
                          20    not be considered when assessing the credibility of an expert or his or her work;
                          21    nor do they concede that Dr. Kimel’s testimony or opinions are flawed or
                          22    deficient. However, the foregoing authorities make it clear that while the
                          23    Defendant’s attack on Dr. Kimel’s opinions is an appropriate area for cross
                          24    examination or offering rebuttal evidence, they do not establish a basis to exclude
                          25    her testimony or opinions from consideration by the fact finder.
                          26
                          27
                          28
                                                                             Page 7
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                           1          When addressing plagiarism by an expert, at least one court has refused to
                           2    disqualify an expert based on evidence of plagiarism. The court specifically
                           3    noted:
                           4          While the alleged plagiarism may be germane to the issues of [the
                           5          expert’s] credibility, however, [the movant] has not shown that it
                           6          impacts the reliability of Shaw’s opinions.
                           7
                                GWTP Invest., L.P. v. SES Americom, Inc., 2007 WL 7630459, *5 (N.D. Tex. Aug.
                           8
                                3, 2007). Plaintiffs request that the Court review Disney’s annotated Exhibit 1 to
                           9
                                Dr. Kimel’s deposition that illustrates that the “plagiarism” consists of supporting
                          10
                                data and facts in sections providing background descriptions supporting her
                          11
                                analysis. See Kimel Depo 42:7-44:23, Exhibit 1 thereto. The twenty-three pages
                          12
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                                of analysis do not contain instances of “plagiarism.”
                          13
                          14          Simply put Defendant has failed to establish that the “plagiarism” impacts

                          15    the reliability of Dr. Kimel’s opinions. Defendant’s motion must be denied.

                          16          D.     DR. KIMEL’S INFORMAL SURVEY WAS APPROPRIATE                          TO   GAIN    AN
                                             UNDERSTANDING OF HOW DAS IS USED BY FAMILIES.
                          17
                                      Dr. Kimel, as a parent of an autistic child, raised questions to other parents
                          18
                          19    in two autism focused Facebook groups in which she participates. As stated in
                                her report, Dr. Kimel reached out to the parents to clarify how they use the DAS
                          20
                                program. See Kimel Report p. 25. The responses provided a backdrop by which
                          21
                          22    she could consider how families use the accommodation with both positive and

                          23    negative reviews. See id. p. 32-33.

                          24          It is important to note that Dr. Kimel did not rely on the survey to formulate
                          25    her conclusions. See Kimel Deposition 138:5-11. Again, because the Defendant
                          26    will have an opportunity to impeach Dr. Kimel’s research and it failed to establish
                          27    that the informal study impacted her opinions, the Court should deny its motion.
                          28
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                           1            E.    DR. KIMEL’S OPINIONS ARE DIRECTLY RELEVANT AND MATERIAL
                                              TO THIS CASE.
                           2
                                        Relevance is defined as evidence that.
                           3
                           4            “has any tendency to make a fact ore or less probable than it would
                           5            be without the evidence; and [] the fact is of consequence in
                           6            determining the action.”
                           7    Fed. R. Evid. 401. Under this guideline, Dr. Kimel’s opinions as cited in her report
                           8    are relevant based to determining whether the DAS accommodates the needs of
                           9    guests with severe autism. See Kimel Report p. 47-48. Contrary to Defendants
                          10    assertions, Dr. Kimel conducted a thorough review of relevant facts which she
                          11    cited in detail in her report. See id. at 25-32, 39-47. There is no prohibition for
                          12
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                                relying on facts supplied by counsel, especially in a situation such as here where
                          13    the Defendant’s website is difficult to understand. See Fed. R. Evid. 703 (“An
                          14    expert may base an opinion on facts or data in the case that the expert has been
                          15    made aware of”.) Defendant has the opportunity to impeach Dr. Kimel at a later
                          16    date.
                          17            F.    Dr. Kimel Research Establish that the Effectiveness of ABA
                          18                  Therapy Is a Topic of Study.
                          19            Defendant’s averments that Dr. Kimel’s research is not implicated by this
                          20    case. As explained in the Declaration of Dr. Kimel (Exhibit 3) filed herewith, Dr.
                          21    Kimel thoroughly discusses the positive and negative affects of ABA therapy
                          22    which is affirmed by the fact that studies question the opinions.
                          23
                          24
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                           1    III.    Conclusion
                           2            WHERFORE, Plaintiffs respectfully request that this Court deny
                           3    Defendant’s Motion to Exclude the Testimony and Expert Report of Lila Kimel,
                           4    Ph.D.
                           5                                                 DOGALI LAW GROUP, P.A.
                           6                                                  /s/ Barbara U. Uberoi
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                          21                                                 Attorneys for Plaintiffs
                          22
                          23                                  CERTIFICATE OF SERVICE
                          24
                                        The undersigned hereby certifies that the foregoing was filed and served on all
                          25
                                counsel of record by way of the Court’s CM/ECF filing system this 13th day of April
                          26
                                2021.
                          27
                                                                                 /s/ Barbara U. Uberoi
                          28                                                        Barbara U. Uberoi
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